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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                 Case No. 20-cv-22082-KMW

  SAMUEL RIVERA,

           Plaintiff,

  vs.

  VICTORIA R. BRENNAN, et al.

           Defendants.
                                 /

                                              ORDER

           THIS MATTER is before the Court on Magistrate Judge Lisette M. Reid’s report

  and recommendation (DE 10) (“Report”) regarding Plaintiff’s petition for writ of habeas

  corpus. In the Report, Judge Reid recommended that Plaintiff’s § 1983 complaint be

  construed as a habeas petition under 28 U.S.C. § 2254, and dismissed for lack of

  jurisdiction as an unauthorized, successive petition. Plaintiff filed objections to the Report.

  (DE 11). Upon an independent review of the Report, the objections, the record, and

  applicable case law, it is ORDERED AND ADJUDGED that:

        1. The conclusions in the Report (DE 10) are AFFIRMED AND ADOPTED.

        2. This action is DISMISSED.

        3. No certificate of appealability shall issue.

        4. All pending motions are DENIED AS MOOT.

        5. The Clerk is directed to CLOSE this case.

           DONE AND ORDERED in Chambers in Miami, Florida, this 11th day of January,

  2021.
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  cc:
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